Case 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                             Document
                                 Document
                                      33-1 1-12
                                            FiledFiled
                                                  02/18/20
                                                       08/18/23
                                                            PagePage
                                                                 1 of 27
                                                                      1 of Page
                                                                           27 ID #:139




     1 MCGUIREWOODS LLP
       MOLLY M. WHITE SBN #171448
     2 1800 Century Park East, 8th Floor
     3 Los Angeles, CA 90067-1501
       Telephone: 310.315.8200
     4 Facsimile: 310.315.8210
       mwhite@mcguirewoods.com
     5
     6 Attorneys for Defendants
       JPMORGAN CHASE BANK, N.A. and RAY DAVIDO
     7
     8
     9                              UNITED STATES DISTRICT COURT
   10                              CENTRAL DISTRICT OF CALIFORNIA
   11
   12 WORLDWIDE FILM PRODUCTION,                    CASE NO. 2:19-cv-10337-DSF-JPR
      LLC,
   13                                               DECLARATION OF MOLLY M.
                      Plaintiff,                    WHITE IN SUPPORT OF MOTION
   14                                               TO COMPEL ARBITRATION
              vs.
   15                                               Hearing
      JPMORGAN CHASE BANK, N.A.,                    Date: March 23, 2020
   16 JOHN TORRES, an individual, and               Time: 1:30 p.m.
      RAY DAVIDO, an individual,
   17                                               Place: Courtroom 7D (Honorable Dale
                      Defendants.                   S. Fischer)
   18
   19
                                                    Complaint Filed: December 5, 2019
   20
   21
   22
   23
   24
   25
   26
   27
   28

                    DECLARATION OF MOLLY M. WHITE ISO MOTION TO COMPEL ARBITRATION
Case 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                             Document
                                 Document
                                      33-1 1-12
                                            FiledFiled
                                                  02/18/20
                                                       08/18/23
                                                            PagePage
                                                                 2 of 27
                                                                      2 of Page
                                                                           27 ID #:140




     1        I, Molly White, declare as follows:
     2        1.     I am an attorney with McGuireWoods LLP (“McGuireWoods”). I am
     3 familiar with the above-captioned action, as a result of my role as counsel for
     4 Defendant JPMorgan Chase Bank, N.A. (“JPMorgan”). I make this Declaration in
     5 support of Defendants JPMorgan Chase Bank, N.A. and Ray Davido’s Notice of
     6 Motion and Motion to Compel Arbitration and Dismiss; or, in the Alternative Stay
     7 the Action. I have personal knowledge of the facts set forth in this Declaration and
     8 if called as a witness, I could and would competently testify thereto.
     9        2.     Pursuant to Local Rule 7-3, counsel for JPMorgan met and conferred
   10 with Plaintiff’s counsel concerning its intent to file a motion to compel arbitration.
   11 On February 10, 2020, Plaintiff’s counsel indicated that Plaintiff would oppose a
   12 motion to compel arbitration.
   13         3.     On June 9, 2017, Plaintiff Worldwide Film Production LLC entered
   14 into the Funding Agreement. Attached hereto as Exhibit A is a true and correct
   15 copy of the executed Funding Agreement.
   16         4.     Attached hereto as Exhibit B is a true and correct copy of the May 14,
   17 2019 order by the Los Angeles Superior Court, granting JPMorgan’s petition to
   18 compel arbitration based on the arbitration clause in the Funding Agreement.
   19
   20         I declare under penalty of perjury under the laws of the United States that the
   21 foregoing is true and correct. Executed on the 18th day of February 2020.
   22
   23
                                                              /s/ Molly White
   24                                                           Molly White
   25
   26
   27
   28

                                                    2
                   DECLARATION OF MOLLY M. WHITE ISO MOTION TO COMPEL ARBITRATION
:._~   Case 2:19-cv-10337-DSF-JPR
                 Case 3:23-cv-04238-LB
                                    Document
                                        Document
                                             33-1 1-12
                                                   FiledFiled
                                                         02/18/20
                                                              08/18/23
                                                                   PagePage
                                                                        3 of 27
                                                                             3 of Page
                                                                                  27 ID #:141
                                                                                 EXHIBIT A




                                                     FUNDJNG AGREEMENT

          This Funding Agreement ("Agreement") dated as ofJune 5, 2017, sets forth the terms and conditions relating to
          the provision of funding and purchase (defined below) to be provided by and among the following parties:
          WEATHERVANE PRODUCTlONS, INC. ("WVP"), a Nevada corporation, FORREST CAPITAL PARTNERS,
          INC. ("FCP") a Florida corporation, WORLDWIDE FILM PRODUCTIONS, LLC. ("DEPOSITOR") an
          1ndiana company, and BLEED INTO ONE, LLC [TO BE FORMED] ("PROJECT COMPANY' 1) 1111 Illinois
          limited liability company to be .formed. PROJECT COMPANY is the enlity formed to effect the creation of the
          lntellectual property including the exploitation of the motion picture titled "BLEED INTO ONE" (the
          "PROJECT"). WVP, FCP, DEPOSITOR and PROJECT COMPANY are individually referred to as a "Party"
          and collectively referred to as the "Pnrtles" hereaftet'.

          For good and valuable consideration, including the mutual understandings, covenants and undertakings herein, the
          receipt and sufficiency of which is hereby acknowledged, the Parties hereby agree that the terms of this
          Agreement once the Agreement is fully signed shall be binding on the Parties.

           1. P:, ..ties                   •   WEATHERVANE PRODUCTIONS, INC.
                                           •   FORREST CAPITAL PARTNERS, INC.
                                           •   BLEED INTO ONE, LLC. [TO BE FORMED].
                                           •   WORLDWIDE FILM PRODUCTIONS, LLC.

          2. Budness Purpose           The Parties are entering into this Agl'eement to set forth the terms and conditions
                                       pursuant to which the financing for production of the intellectual property will be
                                       obtained and funded . The PROJECT shall be based upon the screenplay written
                                       by Neal Edelstein, and shall be financed and pxoduced pursuant to that certain
                                       Term Sheet dated as of March 30, 2017 between WVP and PROJECT
                                       COMPANY (the "Project Term Sheet"). The current budget for the PROJECT
                                       is US$9,000,000, including financing costs, and is approved by PROJECT
                                       COMPANY and WVP pmsuant to the Project Term Sheet ("Budget").

                                       The Parties agree that Neal Edelstein is a Key Man in relation to the PROJECT
                                       and will act as producer and director for the PROJECT as per his choice ·and as
                                       set forth in more detail in the Project Tetm Sheet.

          3. Conditions Precedent      For the purposes of this Agreement, "Conditions Precedent1' mean:

                                          A. DEPOSlTOR's receipt of the written confirmation from CHASE to
                                             DEPOSITOR in the form of a bank letter on Chase letterhead in a form
                                             appl'Oved by DEPOJTOR that confirms, amongst other things, that
                                             CHASE shall only act, in relation to all matters conceming the Project
                                             Master Account and the WVP Line of Credit (as defined below), m
                                             accordance with the pl'ovisioos of this Agreement;

                                          B. The full execution of the Project Term Sheet, which the Parties
                                             acknowledge as received as of March 30, 2017; and,

                                          C. The full execution of this Agreement.

          4. Deposit Amount, FCP          A. Deposit Amount: As soon as reasonably practicable following the full
          Investment, Project Master         satisfaction of the Conditions Precedent as determined by the
          Account and WVP Line of            DEPOSITOR in its sole discretion (in any event 110 later than fom (4)
          {00086259.DOCX:9}                            I of 14
          Execution Drnft


                                                                                  _ _____,I ip//ff/
                                                                                           EXHIBIT"A"                        I
Case 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                             Document
                                 Document
                                      33-1 1-12
                                            FiledFiled
                                                  02/18/20
                                                       08/18/23
                                                            PagePage
                                                                 4 of 27
                                                                      4 of Page
                                                                           27 ID #:142




    Credit Amounts and          business days from the execution of this Agreement by each of the
    Timing of Payment and       parties), the DEPOSITOR shall deposit (or shall cause to be deposited)
    Retur!1 of Amounts          the sum of US $9,000,000.00 (the "Deposit Amount") in the Project
                                Master Account through the Chase hold account (the "Project Mnstel'
                                Account") at Chase Bank ("CHASE").

                            B. FCP Investment: As soon as reasonably practicable, not to exceed five
                               (5) banking days following the payment of the Deposit Amount, FCP
                               shall contribute and deposit in the Project Master Account qualifying
                               assets as determined by CHASE in the value of US $9,000,000,00, as
                               further referenced in Exhibit A (the "FCP Investment"). FCP shall
                               assjgn and contribute the foregoing assets iu the Project Master Account.
                               After all funds from the Deposit Amount and PCP Investment settle in
                               the Project Master Account, Chase will confirm in writing to both FCP
                               and Depositor the full amount on deposit in the Project Master Account
                               (which will be the aggregate total of the Deposit Amount and the FCP
                               Investment). That is, as provided in this Agreement, US $9,000,000.00
                               from DEPOS1TOR and US $9,000,000.00 from FCP.

                            C. WVP Line of Credit: As soon as reasonably practicable thereafter,
                               subject to the Lime requirements of CHASE and not to be delayed or
                               prevented for any reason by FCP and/or WVP but in any event not later
                               than one hundred and twenty (120) calendar days from the date that the
                               Deposit Amount from DEPOSITOR is credited to the Projeet Master
                               Account (the "Drop Dead Date"), FCP shall obtain an EIGHTEEN
                               MILLION DOLLAR (US $18,000,000.00) ("Commitment Amount")
                               line of credit (the "WVP Linc of Credit"). The WVP Line of Credit is
                               to be used solely for the benefit of DEPOSITOR, PROJBC'.f
                               COMPANY and the PROJECT, and will be drawn down and deposited
                               as set forth in Paragraph 5 of this Agreement. For clarity, WVP shall not
                               be required to provide the WVP Line of Credit untiJ DEPOSITOR
                               deposits the Deposit Amount in the Project Master Account.

                            D. Return of the Deposit Amount to Depositor (if applicable): The
                               DEPOSITOR funds in the Project Master Account shall be returned to
                               the DEPOSITOR within two (2) business days of the first of the
                               following to occur:
                                    a. the WVP Line of Credit is drawn down on or before the Drop
                                        Dead Date (in which · instance Paragraph 5 of this Agreement
                                        shall control);
                                    b. the WVP Line of Credit is issued but not drawn dpwn on or
                                        before the Drop Dead Date;
                                    c. the WVP Line of Credit. is not issued on or before the Drop
                                        Dead Date; or,
                                    d. the FCP Investment is not made and/or irrevocably deposited in
                                        full into the Project Master Account as set forth above.
                               Any and all Parties herein shall assist DEPOSITOR through any means
                               1'equired for said transfer of funds to DEPOSITOR, including but not
                               limited to, providing immediate signature authorization upon request foi·
                               said transfer; provided, however, that all Parties to this Agreement
                               acknowledge and agree that execution of this Agreement constitutes the

    {0008t52S9.D0CX;9}                 2 of 14
  · Execution Drnft
Case 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                             Document
                                 Document
                                      33-1 1-12
                                            FiledFiled
                                                  02/18/20
                                                       08/18/23
                                                            PagePage
                                                                 5 of 27
                                                                      5 of Page
                                                                           27 ID #:143




                                       necr::ssury nuthorizatiou for any transfer pursuant to and in accordance
                                       with this Agreement,

                                   E. Intel'est on Deposit Amount: Notwithstanding the foregoing, in the event
                                      that the WVP Line of Credit is not issued on or before the Drop Dead
                                      Dat~. then DEPOSITOR may elect, in its sole discretion, to dil'ect
                                      CHASE to retain the Deposit Amount in the Project Master Account,
                                      and in this instance the Deposit Amount shall acc!'ue interest nt the rate
                                      of one percent (1%) of the Deposit Amount per month for each calendar
                                      month that the Deposit Amount remains deposited in the Project Master
                                      Account (the "Default Interest"). In this Instance, the Deposit AmoW1t
                                      and the Default Interest shall be immediately paid to DEPOSITOR
                                      within two (2) business days of DEPOSITOR's demand for the same to
                                      be paid, and DEPOSITOR shall have the right to make such demand for              i
                                                                                                                       I
                                      any reason nt any time in its sole discretion.                                   j
                                                                                                                       i
   5. Order of Deposits from
   the WVP Line of Credit
                               The WVl) Line of Credit will be created and the Commitment Amount drawn
                               down by CHASE (in accordance with the provisions of this Agreement) and
                                                                                                                       i
                                                                                                                       I
                               deposited in the following order:                                                       !
                                                                                                                       J
                                   A. The first tranche in an amount equal to U.S. NINE MILLION
                                      DOLLARS ($9,000,000) for the sole benefit of DEPOSITOR shall be
                                      paid to DEPOSITOR from the WVP. Line of Credit (the "DEPOSITOR
                                                                                                                       I
                                      Contl'ibution Repayment");                                                       l
                                                                                                                       I
                                                                                                                       I

                                                                                                                       I
                                                                                                                       i
                                   B. The ·second tranche of U.S. NINE MILLION DOLLARS ($9,000,000)
                                      from CHASE will be wired to the WVP nccount designated herein.                   !   I
                                      WVP will release the capital in the following order: (1) to pay the agreed
                                      fee of 5% of the Deposit Amount (i.e., U.S. FOUR HUNDRED AND
                                      FIFTY THOUSAND DOLLARS [$450,000]) to the DEPOSITOR (the
                                      "DEPOSITOR Fee"); and (2) then the balance of the U.S. EIGHT
                                                                                                                       II
                                      MILLION FIVE HUNDRED FIFTY THOUSAND DOLLARS
                                      ($8,550,000) shall be paid to the PROJECT COMPANY for the
                                      PROJECT in accordance with the terms and conditions of the Project               I
                                      Term Sheet (the "FCP / WVP Equitable Contribution"). The FCP /
                                      WVP Equitable Contribution draw shall occur no earlier than five (5)
                                      business days after the DEPOSJTOR Contribution Repayment draw.
                                                                                                                       I
                               DEPOSITOR, PROJECT COMPANY or PROJECT will not have the obligation
                               to repay any portion of the FCP lllvestment, the Commitment Amount or the
                               WVP Line of Credit; only the PROJECT COMPANY will be obligated to repay
                               the FCP / WVP Equitable Contribution at the terms designated in the Project
                               Term Sheet. PROJECT COMPANY, Neal Edelstein, Charles Leslie and/or
                               Naveen Chathappuram shall not be obligated and/or have any liability of any
                               kind or nature. whatsoever relating to any of the following: the Deposit Amo,mt,
                               DEPOSITOR Contribution Repayment, the DEPOSITOR Fee, any Cees, costs
                               and/or amounts o:wed or payable to DEPOSITOR, the WV Executive P1:oducer
                               Fees, WV Expenses and WV Budget Entitlements, and/or any other fees, costs,
                               payments or amounts of any kind or nature that may become due or payable to
                               any of the Parties to this Agreement other then as defined in the Project Term
                               Sheet 1.mon completion of fundinR.

   {00086259,D0CX;9}                          3 of 14
   Execution Drnft
                                                                                                                       I
                                                                                                                   If' I
Case 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                             Document
                             ;•:.:- Document
                                        33-1 1-12
                                              FiledFiled
                                                    02/18/20
                                                         08/18/23
                                                              PagePage
                                                                   6 of 27
                                                                        6 of Page
                                                                             27 ID #:144




    6. Tenn                     The term of this Agreement shall commence as of the date of full execution of
                                this Agreement and shall continue until all obligations of the Parties have been
                                fully performed (the "Term"), unless terminated eal'lier in nccordance with the
                                provisions of this Agreement.

    7. Legr1I Entity                •   WVP is an existing corpot'ation, duly ot'ganized unde1· the laws of
                                        Nevada.
                                   •    FCP is an existing corporation, duly organized under the laws of Florida.
                                    •   BLEED INTO ONE, LLC is a limited liability company, that will be
                                        formed and duly ol'ganized unde1· the laws of Illinois as soon as
                                        reasonably practicable upon the execution of this DFA.
                                   •    DEPOSITOR is an existing limited liability company, duly organized
                                        under the laws oflndiana.

    8. ProJect Account             A. The Project Master Account shall be in the name of DEPOSITOR and
    Specilics                         controlled by FCP, WVP and DEPOSITOR, and shall have one
                                      signatory assigned from each of fCP, DEPOSITOR and WVP as
                                        follows: Benjamin McConley (FCP), Rob New (DEPOSITOR) and
                                        Jason Van Eman (WVP).

                                   B. The Project Masler Account shall operate in accordance with the
                                      relevant account operation mechanics as required by Chase and the
                                      provisions of this Ag1·eement, alJ subject to DEPOSITOR'S consent.

                                   C. The Deposit Amount in the Project Master Account is to be used for the
                                      sole purpose of obtaining the WVP Linc of Credit (as defined below) for
                                      the benefit of DEPOSITOR, the PROJECT COMPANY and the
                                      PROJECT. The Deposit Amount shall not be conveyed, transferred or
                                      otherwise removed from the Project Master Account nor shall it be
                                      assigned, encumbered or otherwise used for any purpose other than for
                                      obtaining the WVP Line of Credit for the benefit of DEPOSITOR,
                                      PROJECT COMPANY and PROJECT.

                                   D. For clarity, DEPOSITOR, FCP and CHASE (or its affiliate) shall be the
                                      only entities that deposit any funds into the Project Master Account.

    9. Prccedures and Matters      A. FCP is obligated to establish and retire the WVP Line of Credit and will
    Betweeh FCP nnd WVP               protect, defend, indemnify and hold each of the Parties and its respective
                                      members, managers, officers, employees, agents, attorneys, insurers and
                                      all o.ther persons acting through or on .behalf of the Parties, hatmless
                                      from and against any obligations related to or arising out of the FCP
                                      Investment and/or the Commitment Amount, the WVP Line of Credit
                                      and the retiring, or repayment of, the WVP .Line of Credit and the FCP
                                      Investment and the Deposit Amount. This includes all of the costs of
                                      establishing and retiring the WVP Line of Credit as well as any interest
                                      pay1nents associated with the WVP Line of Credit and any and all other
                                      costs, fees and/or expenses, inch1ding without limitation attorney's fees
                                      and/or accounting fees. After DEPOSITOR and PROJECT COMPANY
                                      have confirmed in writing that they have received, in cleared funds, both
                                      the DEPOSITOR Contt•ibution Repayment and the FCP / WVP
    {00086259. D0CX;9}                         4 of 14
    Execnt.iou Draft
Case 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                             Document
                                 Document
                                      33-1 1-12
                                 :· C.:,•, ·FiledFiled
                                                   02/18/20
                                                 .:·,- ... 08/18/23
                                                                PagePage
                                                                     7 of 27
                                                                          7 of Page
                                                                               27 ID #:145




                                                Equitable Contribution in full pursuant to this Agreement and the Project
                                                Te1·m Sheet, WVP, 01· PCP on WVP's behalf, may utilize the Deposit
                                                Amount to pay down fifty percent (50%) of the WVP Line of Credit,
                                                PCP on WVP's behalf will pay down the remaining fifty percent (50%)
                                               of the WVP Line of Credit according to an iuternal schedule. Fol' the
                                               avoidance of doubt, in no event shall repayment of the WVP Line of
                                                Credit by WVP, or FCP on WVP's be~alf, (i) reduce the Commitment
                                               Amount (i.e. $18,000,000.00) or (ii) be the responsibility of
                                               DEPOSITOR 01· PROJECT COMPANY. The Deposit Amount and the
                                               FCP Investment are the full collateral for the WVP Line of Credit. For
                                               the avoidance of doubt, WVP and FCP will be solely responsible for the
                                               WVP Line of Credit, the FCP investment and the Commitment Anwunt
                                               and no nssets or resources of DEPOSITOR, PROJECT COMPANY or
                                               lhe PROJECT or any rights therein or related thereto will be utilized as
                                               collateral for the WVP Line of Credit other than the Deposit Amount in
                                               the Project Master Account. For clarity, PROJECT COMPANY, Neal
                                               Edelstein, Charles Leslie and/or Naveen Chathappuram shall not be
                                               responsible and/or have any liability of any kind or nature wlrntsoever
                                               relating to any of the following, including without limitation the return
                                               and/or payment of any such amounts: the Deposit Amount,
                                               DEPOSITOR Contribution Repayment, any fees, costs and/01· amounts
                                               owed or payable to DEPOSITOR, the WV Executive Producer Fees,
                                               WV Expenses and WV Budget Entitlements, ·and/or any other fees,
                                               costs, payments or amounts of any kind or nature that may become due
                                               or payable to any of the Parties to this Agreement other then as defined
                                               in the Project Term Sheet upon completion of funding.

                                 B. The FCP I WVP Equitable Contribution shall be paid to PROJECT
                                    COMPANY in accordance with the Project Tenn Sheet.

                                 C. In the event that the Deposit Amount is not received in accordance with
                                    this Agroement and/or in the event that the WVP Line of Credit is not
                                    made available within the time frames set forth in this Agreement,
                                    DEPOSITOR, PROJECT COMPANY, Neal Edelstein, Charles Leslie
                                    and/or Naveen Chathappmam shall have no further obligations to FCP
                                    and/or WVP and the rights of FCP and WVP with respect to PROJECT
                                    COMPANY and the PROJECT set forth in this Agreement and in the
                                    Project Tenn Sheet shall terminate immediately.

    IO. Funding Information   Any and all deposits, disbmsements and/or payments made pursuant to this
                              Agreement shall be made in accordance with the respective information:

                                 A. Project Master Account:
                                        Account Name:
                                       .FCP Master Holding Account
                                        401 E Las Olas Blvd STE 130
                                        Ft. Lauderdale FL, 33301

                                                  CHASEB11nk
                                                  80 South West 811' Street,
                                                  Miami, FL 33132

   {0008'5259.DOCX;9}                                 5 of 14
   Execution Drnft
    Case 2:19-cv-10337-DSF-JPR
              Case 3:23-cv-04238-LB
                           ,·•·.·.~ Document
                                        Document
                                             33-1 1-12
                                                   FiledFiled
                                                         02/18/20
                                                              08/18/23
                                                                   PagePage
                                                                        8 of 27
                                                                             8 of Page
                                                                                  27 ID #:146




                                       ABA Routing: 021000021
                                       Account Number: 850239729
                                       Reference Memo: BLEED INTO ONE

                               B. DEPOSITOR Account (or such other account as DEPOSITOR may
                                  designate in writing to CHASE):
                                      Bank: TBD
                                      Routing#: TBD
                                      Account#: TBD

                               C. WVP ACCOUNT:
                                      Bank: Bnnk of Oklahoma
                                      Routing#: 103900036
                                      Account#: To Be updated prior to release of the Line of Credit.

                               D. PROJECT COMPANY Account:
                                    Bank: TBD
                                    Routing #: TBD
                                    Account#: TBD

                               E. As security for the rep11yment of the FCP / WVP Eqt1itable Contribution,
                                  upon the irl'evocable receipt of the FCP / WVP Equitable Contribution in
                                  the PROJECT COMPANY ACCOUNT, the PROJECT COMPANY
                                  shall deliver to WVP a security agreement, and mortgage and Title of
                                  ow1iership of the PROJECT and WVP shall be granted a lien over the
                                  PROJECT COMPANY and the receipts from exploitation of the
                                  PROJECT COMPANY. The parties shall take no action to hinder the
                                  good faith negotiations 01· delivery of the security documents.

        11. Representations    A. Each of the PE11'ties represents, warrants and agrees that: (a) it is or will
                                  be a duly ol'ganized, valid and extant company authorized to entel' into
                                  and fully perform under this Agreement .without the authorization or
                                                                                                                      I
                                  permissions of any third party m· that all such authorizations and
                                  permissions were received; (b) there arn no contracts, agreements or
                                  undel'standings which will or could reasonably be expected to conflict
                                                                                                                  I I
                                  with its entering into nnd performing fully under this Agreement; (c) to
                                  the best of its knowledge after the exercise of reasonable diligence there
                                                                                                                  I I
                                  are no existing or pending claims, liens, or encumbrances which might           j
                                  adversely affect the Pnities' rights 01; obligations hereunde1·, and (d) to     '
                                  the ·best of its knowledge, entering into and pe1fonning this Agreement
                                  docs not violate or infringe upon the rights of any third party.

                               B. PCP and WVP represent and warrant the following:

                                  (1)· FCP: (i) is an "accredited investor" as such term is defined in
                                       Regulation D promulgated by · the Securities and Exchange
                                       Commission in the Securities Act of 1933, as amended; (ii) has the
                                       right to enter into and fully perform this Agreement and the other
                                       agreements contemplated hereunder; (iii) is entering into this
                                       Agreement and providing the financing provided for hereiin<ler for
                                       its own account; (iv) has sufficient knowledge and experience in

        {00086259 .DOCX ;9}                6 of 14
        Execution Draft



i
I
Case 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                             Document
                                 Document
                                      33-1 1-12
                                            FiledFiled
                                                  02/18/20
                                                       08/18/23
                                                            PagePage
                                                                 9 of 27
                                                                      9 of Page
                                                                           27 ID #:147




                                     similar vent\1res so as to be able to evaluate the risks and merits of
                                     the lrnnsaction contemplated herein 11nd is able financially to bear
                                     the risk thereof, including a complete loss of the financing provided
                                     for herein; (v) understands that this transaction involves a high
                                     degree of risk and has· independently reviewed the transaction and
                                     the risk, and is not relying on any representation or warranty of any
                                     nature from Parties or any employee; representative or agent thereof,
                                     regarding the likelihood, or Jack thereof, of repayment of the
                                     financing provided for herein or any other ftmounts which may be
                                     payable hereunder.
                                 (2) Each of them is in compliance with all material laws, rules, and
                                     regulations relating to obligations set .forth herein or otherwise
                                     affecting the Deposit Amount and the FCP Investment to be
                                     provided hereunder;

                                 (3) FCP has ownership, possession, and/or control ovel' a sufficient
                                     amount of liquid assets in order to deposit the FCP Investment in the
                                     Project Moster Account;

                                 (4) As long as this Agreement is in effect and until their obligations
                                     hereunder are fully discharged or terminated pursuant to the terms of
                                     this Agreement, PCP and WVP shall use the DEPOSITOR'S funds
                                     solely for the purposes set forth herein; and

                                 (5) FCP and WVP have informed CHASE Bank of the terms and
                                     conditions of this Agreement, and CHASE Bank has confirmed to
                                     FGP and WVP that it intends to comply with all of the terms of this
                                     Agreement upon its receipt of a fully executed copy of this
                                     Agreement.
   12. Inde1m1ification   Each of WVP, FCP and DEPOSITOR (each an "Indemnifying Party") hereby
                          indemnifies, holds harmless and agrees to defend the other Parties (the
                          "Indemnified Parties") against any and all third party claims, damages,
                          penalties, liabilities and costs (including reasonable outside attorneys' fees and
                          disbursements) arising from a breach or alleged breach of the Indemnifying
                          Party's representations, warranties or agreements hereunder, except to the extent
                          the Indemnifying Party is entitled to indenmification by one or more of the
                          Indemnified Parties. This provision shall survive any termination of this
                          Agreement. Each of the Parties shall be excused from performance, in regards to
                          time of delivery but not in regards to fulfilling the funding obligation, und shall
                          not be in default in respect of any obligation hereunder to the extent that the
                          failure to perform such obligation is due to a natural, financial or political event
                          beyond the reasonable control of the affected Patty, also refe11'ed to as a Force
                          Majeure Event. For clarity, PROJECT COMPANY and its officers, directors,
                          manngers, members, employees, agents, licensees and assigns shall be deemed
                          Indemnified Patties for purposes of this Paragraph 12.




   {00086259.DOCX;9}                      7 of 14
   Execution Draft



                                                                                                             ff
     Case 2:19-cv-10337-DSF-JPR
            Case 3:23-cv-04238-LB
                     .-·;,:.,     Document
                                   Document
                                         ....33-1
                                             ~· 1-12 Filed
                                                       Filed02/18/20
                                                             08/18/23 Page
                                                                       Page1010ofof2727 Page ID
                                         #:148




       13. Confidentfolity; Non-   The Patties shall keep the terms of this Agreement strictly confidential except:
          Circumvention            (a) to the extent disclosure is required to effectuate this Agreement; (b) to the
                                   extent disclosure is required pun;uant to court 01·der or applicable laws or
                                   regulations; (c) each Party may disclose the terms hereof to its professional
                                   representatives and advisors on a confidential basis and ( d) to the extent
                                   mutually agreed by the Parties. In the event any Party discloses the terms herein
                                   to any othet· party as permitted by this ·Paragraph, such Party shall inform such
                                   other party to whom it reveals confidential information hereunder of the
                                   confidential nature of such information, and shall be liable for any disclosure by
                                   such third party, Each Party aclmowledges that disclosme of the terms of this
                                   Agreement in breach of this Agreement, without prior wl'itten authorization of
                                   each of the other Parties, may catise harm, financial and otherwise, to the Parties
                                   to this Agreement, and any Party damaged by the disclosure of the terms of this
                                   Agreement in breach of this Agreement, without prior written authorization by
                                   the other Parties, shall have the right to seek remedy, financial and otherwise. All
                                   of FCP / WVP banking and financial relationships are included within the
                                   confidentiality provision set out in this Paragraph 13, and any direct
                                   communication by any Party with such banking nnd financial parties will include
                                   the DEPOSITOR, FCP and WVP in such communications.
      14. Governing Law;             A. This Agreement has been made in and shall be interpreted and governed by
      Binding Arbitration;                the laws of the State of Florida applicable to agreements entered into and
      Service of Process and              to be performed folly therein, without regard to ·principles of conflicts of
      Waive:· oflnjunctive                law.
      Relief by WVP and FCP
                                    B. Any dispute, claim or controversy arising out of or relating to this
                                        Agreement or the breach, termination, enforcement, interpretation or
                                        validity thereof, including the determination of the scope or applicability of
                                        this Agreement to arbitrate, shall be determined by binding arbitration in
                                        Miami, Florida before one arbitrator selected pmsuant to the JAMS rules
                                        and procedures. The arbitration shall be administered by JAMS pursuant to
                                        its JAMS' Comprehensive Arbitration Rules and Procedures. The Parties
                                        agree to confidential arbitration and any disclosure ofsaid arbitration or
                                        the parametel's of the terms of the dispute, claims or controversy
                                        constitutes an automatically forfeiture of the breaching parties claim. The
                                        Parties hereby agree to waive the right to seek punitive damages or
                                        equitable or injunctive relief and the arbitrator shall not have the authority
                                        to award such datriages or relief. Judgment on the arbitration award may
                                        be entered in ·any court having jurisdiction. The arbitrator shall determine
                                        which Party in any arbitration shall be entitled to recover its reasonable
                                        attorney's fees and costs incurred in connection with the a1·bitration against
                                        each non-prevailing party.

                                    C. Limitation of Liability. A Party's maximum liability for any action for
                                       actual damages arising under this Agreement, regardless of the form of
                                       action and whether in tort 01· contract, shall be limited to the .total atnount
                                       the claiming Party deposited into the Project Maste1; Account. In no event
                                       shall the Parties be liable for indirect, special, incidental, or consequential
                                       damages of any kind, however arising, even if advised of the possibility of
                                       such damages. For pmposes of this subparagraph (c): PROJECT
                                       COMPANY only acknowledges and agrees that it shall not seek punitive
                                       damages of anv kind against unv other Partv; and PROJECT COMPANY
I     {00086259.D0CX;9}                            8 of 14
·1    Execution Draft


I
·I
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB
              . :,c"..;;,•   Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page1111ofof2727 Page ID
                                    #:149




                                shnll not be deemed a Party as set forth in the flrst two sentences of this
                                subparagraph (c).

                            D. The Parties to this Agreement acknowledge that several individuals have
                               acted as representatives for the Parties in various capacities and each of the
                               Parties hereto agree to waive any rights that they may have to bring a claim
                               against any such individuals as a pal't of any dispute, clnim or controversy
                               arising out of ol' relating to this Agreement, or the breach, termination,
                               enforcement of this Agreement. Any dispute, claims 01· controversies
                               resulting from this Agreement covered by this Paragraph shall be limited to
                               the companies executing this Agreement. For avoidance of doubt, aU legal
                               actions and remedies shall only be between the col'porate entities listed in
                               this Agreement and not the individuals of those organizations.

 15. Binding Authority;   The JJerson signing on behalf of each of the Pa1ties represents that he or she has
 Assignment .             the right and power to execute this Agreement on behalf of his/her respective
                          party and to bind the same to the terms set fo1th herein.

                          This Agreement shall not be assignable by any Party without the prior written
                          consent of the non-assigning Parties provided that DEPOSITOR may freely
                          assign all right, title and interest it mfty have in and to this Agreement to any
                          other entity that DEPOSITOR controls for any reason. Any other assignment in
                          violation of this Paragroph shall be void from the making thereof and of no force
                          01· effect. This Agreement shall enure to the benefit of the Parties and their
                          respective Stlccessors and permitted assigns.

 16. Termination and      Any Party shall have the i:ight to terminate this Agreement if:
 Notice of Breach
                              A. Another Party materially breaches its obligations hereunder and fails to
                                 cure such breach within a reasonable time, not to exceed five (5)
                                 business days following receipt of wrilten notice from any Party; or

                             B. The Conditions Precedent as stated in Paragraph 3 and Paragraph 4.A.
                                above, in regards to funding the Project Master Account with respect to
                                Deposit Amount and time of four (4) business days for deposit of the
                                Deposit Amount, are not satisfied withi11 five (5) business days after
                                execution of this Ag1·eement.

                             C. In the event that the Deposit Amount has been deposited into the Project
                                Master Account, the entire amount of the Deposit Amount will be
                                itmnediately returned to DEPOSITOR within two (2) banking days ·of
                                the occurrence of any of the following: (I) any breach of this Agreement
                                by WVP or FCP that is not cured as set forth in Paragraph 15.A. above;
                                or, (2) tl1e failure of CHASE to make the WVP Line of Credit available
                                by the Drop Dead Date set forth herein. Notwithstanding the foregoing,
                                in the event that the WVP Line of Credit is made available prior to a
                                breach of this Agreement by WVP or FCP that is not cured as set forth in
                                Paragraph 15.A. above, then DEPOSITOR shall receive the
                                DEPOSITOR Fee in addition to the return of the Deposit Amount within
                                two (2) banking days of such uncured breach.


 {00086259.DOCX;9}                       9 of 14
 nxec11tion Drnft
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23
                                                           ,..,.. .. Page
                                                                      Page1212ofof2727 Page ID
                                                                                  .

                                    #:150




                             Neither party shall have the right to terminate, or otherwise 11 unwind 11 this
                             Agreement for any other reason not specified in this Agreement.

                             Any Party that is aware of a breach or default hereunder shall give the non-
                             breaching Parties prompl written notice thereof and each Party shall give the
                             other Parties prompt written nolice of any changes in management, litigation, or
                             of any other matter which has resulted in or could reasonably be expected to
                             result iu a materially adverse change in such Pa1ty's financial condition or
                             operations.

 17. No Waiver;              No breach of any provision of this Agreement may be waived, and no such
 Severability                breach shall be deemed waived,· unless such waiver is in writing. The waive!' of
                             any breach of this Agreement shall not be deemed to be a waiver of any other
                             breach of this Agreement (or any provfaion hereof). No provision of t11is
                             Agreeinent shall be interpreted for or against any Paiiy becmise that Party and/or
                             its legal representative drafted such provision. If any provision of this
                             Ag1·eement is or shall be deemed to be invalid, illegal or unenforceable, such
                             provision shall be deemed modified or deleted, only to the ex.tent necessary to
                             render such provision (and the remainder of this Agreement, if otherwise
                             affected) valid, legal and enforceable, and so as modified, this Agreement shall
                             continue in full force and effect.

                             The Patties acknowledge that each, respectively, has reviewed and revised this
                             Agreement and that the normal tule of construction to the effect that any
                             ambiguities are to be resolved against the drafting party shall not be employed in
                             the interpretation of this Agreement, Alt pronouns and common nouns shall be
                             deemed to refer to the masculine, .feminine, neuter, singular, and plural, as the
                             context may require.

 18. Further Assurances;        A. The Parties hereby agree to do such acts and execute such documents
 Entire Agreement; Notices          consistent herewith at the· reqi,est of ,my other Party as may be
                                    reasonably necessary to give full effect to this Agreement and the terms
                                    set forth herein.

                                B. This Agreement and the Project Term Sheet set forth the entire
                                   understanding of the Parties relating to the subject matter hereof, and all
                                   prior understandings, whether written or oral, express or implied, are
                                   superseded by this Agreement. This Agreement may not be amended or
                                   modified except by a writing signed by the Parties. This Agreement may
                                   be executed in multiple counterpa1ts (including by facsimile or email by
                                   a signed/scanned PDF), each of which shall be deemed an original and
                                   all of which, when taken together, shall constitute one and the same
                                   agreement. If there is a conflict between the provisions of this
                                   Agreement and the Project Term Sheet only as relating to PROJECT
                                   COMPANY and WVP, the provisions of the Project Term Sheet will
                                   control.
                                                                                                                  .
                                                                                                                  t.i
                                C, All notices and payments which either of the .Pa11ies may be required to       '
                                   give unclel' this Agreement will be in writing and will be served by
                                   registered or certified mail, nationally recognized next-day or same-day
                                   comier service, facsimile (with a copy by registered or cert!fle.d mail),
                                                                                                                  I
                                                                                                                  l
                                                                                                                  lI
 (00086259.D0CX;9}                          10 of 14                                                              I
 Execution Draft
                                                                                                                  I
                                                                                                                  l
                                                                                                                  i
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page1313ofof2727 Page ID
                                    #:151




                             electronic transmission, including email (with a copy by registered or
                             certified mail), or personal delivery, as appropriate, as set forth below.

                         D, Except us otherwise specified herein, all notices and other
                            communicalious shall be deemed to have been given on the date of
                            receipt if delivered personally, two (2) business days after posting if
                            transmitted by registered or certified mail or courier service, or the date
                            of transmission if transmitted by facsimile or electronically transmitted
                            (provided that if transmitted after the recipient's regular business hours,
                            then such notice shall be deemed received on the next business day),
                            whichever shall fil·st occur. A 'business day' for the purposes of this
                            Agreement shall mean a day {other than a Saturday or Sunday) on which
                            banks are generally open for business in the United States.

                         E. Until fmther notice, the addresses of the parties for any such notices or
                             payments shall be:
                                   Ifto DEPQSITOR:
                                   (Address)
                                     Attn:
                                     Tel:
                                     Fax;
                                     Email

                                     With a copy to:
                                     Myron Cherry ·
                                     Tel: 312.372.2100
                                     Fax: 3312.853,0279
                                     Email: mcherry@cherryalaw.com

                                     Ifto BLEED INTO ONE, LLC
                                     (Address)
                                     Attn:
                                     Tel:
                                     Fax:
                                     Email:

                                      With a copy to:
                                      Natarajan Worstell LLC
                                      c/o Ram Natarajan, Esq.
                                      33 N, LaSalle St., Suite 1930
                                      Chicago, IL 60602
                                      Tel: 312.698.8909
                                      Fax: 312.754.3022
                                      En1ail: ram@natarajnnlegal,com

                                      And
                                      Weintraub Tobin Chediak Grodin Coleman Law Corporation
                                      c/o Tara Sattler
                                      10250 Constellation Blvd., Suite 2900
                                      Los Angeles, CA 90067
                                      Tel: 310.860.3331

  {00086259.DOCX;9}                   11 ofl4
  Execution Draft
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document
                                .,,;•.:·  33-1
                                            1-12 Filed
                                                   Filed02/18/20
                                                         08/18/23 Page
                                                                   Page1414ofof2727 Page ID
                                         #:152




                                            Email: tsuttler@wei~g_rnub.com

                                            If to: WVP and/or PCP
                                            c/o Jason Van Emau
                                            3900 Green Country Rd. #3524
                                            Bartlesville, OK 74006
                                            Tel: 818-720-3182
                                            Fax: 270-721-1702
                                            Email: weathervaneproductions@yohoo.com

                                            With a copy to:
                                            Silverberg & Weiss, PA
                                            c/o Paul K. Silverberg, ESQ.
                                            1290 Weston Rd, Suite 218
                                            Weston, FL 33326
                                            Tel: 954-384-0998
                                            Fax: 954-384-5390
                                            Email: psilverberg@pl<slegal.com


 The terms of this Agreement shall be binding upon the Parties and their respective successors and permitted
 assigns.
                                     [slgnamre and notary page to follow]




 {00086259.DOCX;9}                         12.ofl4
 Execution Draft
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document
                               . ·-~-  33-1
                                         1-12 Filed
                                                Filed02/18/20
                                                 •,   08/18/23 Page
                                                                Page1515ofof2727 Page ID
                                      #:153




                                         SIGNATURE PAGE TO
                                 DEPOSITOR_WVP_FCP_BLEED INTO ONE
                                        FUNDING AGREEMENT

 AGREED TO AND ACCEPTED:


 WEATHERVANE PRODUCTIONS, INC., a                         BLEED INTO ONE, LLC [TO BE
 Nevada Corporation                                       FORMED}, a limited liability company to
                                                          be formed in Illinois
 I have the authorlly lo bind the company.
                                                          I have the authority to bind the company.
 By:_ _ _ _ _ __ __
 Jason Van Eman                                           By:_ _ _ _ _ _ _ _ _ __
 President                                                Neal Edelstein
                                                          (Managing Member)
 Date;
                                                          Date:

 FORREST CAPITAL PARTNERS, INC.,                          By:_ _ _ _ _ __ __ _                  ~



 a Florida Corporation                                    Charles Leslie
                                                          (Managing Member)

                                                          Date:
                                                          By:_ __ _ _ __ _ _ __
                                                          Naveen Chathappuram
                                                          (Managing Member)

                                                          Date:




 WORLDWIDE FILM PRODUCTIONS; LLC, a limited liability company formed in Indiana

         1 have the authof'ity to bind the company.


         By: _ _ _ __ _ _ ____ _

         (Managing Member)

         Date:

 *THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



 {00086259.DOCX;9}                             13 of l4
 Execulion Drafi
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page1616ofof2727 Page ID
                                    #:154




                                             NOTARY PAGE TO
                                    DEPOSITOR_WVP_FCP _BLEED INTO ONE
                                                  FUNDING AGREEMENT

       STA TB OF OKLAHOMA
                                               :ss
       COUNTY OF WASHINGTON                    )

       Before me, the undersigned, a Notary Public in and for said County and State, on this _ th duy of June, 2017, appesred
       l)Crsonally Jilson Vnn Bmnn to me known to be tho identical person who executed the within and foregoing Instrument
       nnd acknowledged to me thnt he executed the snnic ns his free nnd voluntary net nnd deed for the 11ses nnd purposes
       therein set forth.


                                                                   Notn1y Public

                                                                   My Commission Expires:_ __ _ __ (Seal)


       STATEOFFLORJDA

       COUNTY OF

       Before me, the undersigned, n Notal'y Public in and for said County nnd Stntc, on this (.. th dny of June, 2017, appeared
       personnlly Benjamin McConlcy to me known to be the ldcnticnl person who executed the within nnd foregoing
       instn11nent and acknowledged to me thnt he executed the snmc as his free and voluntary act und deed for tho uses and
       purposes therein sot forth.


                                                                   Notary Public

                                                                   My Commission Expires: oS/ot1/:,,0 / f. (Sen I)
    Case 2:19-cv-10337-DSF-JPR
           Case 3:23-cv-04238-LB Document
                                  Document33-1
                                           1-12 Filed
                                                  Filed02/18/20
                                                        08/18/23 Page
                                                                  Page1717ofof2727 Page ID
                                        #:155
2017-06-09 09:25                                 Wells Fargo 9544674153 ~> 12                                 P 1/1



                                                  SIGNATURE PAGE TO
                                     DEPOSI1'0R_WVP_FCP_BLli:E:0 lN'l'O ONE
                                            F(fNl>lNG AGREEMENT

      AGREED TO AND ACCEPTED:


      WEATHERVANE PRODUCTIONS, Il~C., a                       BLEED INTO ONE, LLC [TO BE
     Nevada Corporation                                       FORMEDl, a limited Hnbility company to
                                                              be formed in lllinois
     1 have the authority to bind the company.
                                                              I have lhe authority to bind the company.

     By:.~~~~~~~
     Jason Van 8mon                                           By:_ _ _ _ __ _ _ _ _ __
     President                                                Neal Edelstein
                                                              (Mllilaging Member)
     Date:
                                                              Date:

     FORREST CAPITAL PARTNERS, lNC.,                          By:_ _ _ _ _ _ _ _ _ __
     a .ftlorida Co1·poration                                 Charles Leslie
                                                              (Managing Member)
     I have the authority to bind the company.
                                                              Dato:
     By:                                                      By:.~- -- - -- - - ~
     Bonjamin McConky • .MBA                                  Naveen Chathappuram
     Managing Partner                                         (Managing Member)

     Date:                                                    Dale:




     WORLDWIDE l,?JLM PR0DUCTl0NS 1 Ll..C, a limited liability company formed in lndiuna




                          I l
             Date: o 6 oq )ot '}                                                                      Andms Gamarra
     *THE SIGNATURE OF £A.CH PAR.TY HERETO S/lALL BE NOTARIZED
                                                                                                       Notary PUblla
                                                                                                       6tnta of f lorlda
                                                                                                 MV COMMISSION ~ FF 81!l!l0
                                                                                                   Exp~es: Jimuary B. 201B
     {00086259.D0CX;9}
     Bxccution Druft
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                       .-'. : Page1818ofof2727 Page ID
                                    #:156




                                                     SIGNAT\Jlm PAGI~ TO
                                            DF.POSITOR_ WVP_FCP            _nurnn
                                                                        INTO ONE
                                                    ft'lJNDlNG AGREEMENT

 AGREED TO AND ACCEPTED:


 Wl!:ATHEltVANE PRODUCTIONS, INC.,                               ,i        BLlmD INTO ONE, LLC jTO BE
 Nevada Corpornlion                                                        FORMIWI, u limited liability compnny to
                                                                           be formed in Illinois
 I ha\le the ,mthori~v tu hind the cofll/)(/t~V.
         \                           (/ .                                  I have tlw m1tlwriti1 to hind the co1111nmy.

 By'--=      )M~_V,,.?-,----
 Jason Van f~mnn                    ·                                      Bv:·--·------····--····--·- ---······--·-- .·- ---····--
 President                                                                 Neal Edelstein
                                                                            (Managing Memhcr)
 Date: (; · \ · / 7
                                                                           Dute:

 FORREST CAPITAL PARTNERS, INC.,                                           By: ____
 a Florida Corporation                                                     Charles Leslie
                                                                           (Managing Member)
 I have the a1ulwrily to bind the company.
                                                                           Date:

                                                                            By: _____            __________ _
 By:· ..- ····-·--..- - ·---- -·--·- - -·
 Benjamin McConlcy, MBA                                                     Naveen Chathappmam
 Mmrnging Partner                                                           (Managing Member)

 Date:                                                                      Date:




 WORLDWmE 'F ILM PRODUCTIONS, LLC, a limited linbility company formed in Indiana

             I haw the a11thori~J' lo hind 1/11: company.



             By:·----·-·- ------ ···---·····---·------··-·-·-·- ····

             (Mnnaging Member)

             Date:

 *THE SIGNATURE OF EACII PART}' IIERETO Sf/ALL BE NOTARIZIW



 {00086259. DOCX ;9 }                                           13 of'l4
 Execution Drntl
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                     08/18/23
                                                    ~.·:- ..  Page
                                                               Page1919ofof2727 Page ID
                                    #:157




                                                 NOTARY PAGE TO
                                        DEPOSITOR~ WVP_FCP _Ill.EEL> INTO ONE
                                                       FUNDING AGREEMENT

          ST/\ TE OF OKLAIIOMA
                                                     :ss
          COUNTY OF WMilllNOTON

          He fore me. the undersigned, u Notary Public in und for s11id Cmmty nnd Stoic. on lhi~ j_th dny or June. 20 17. nppcnrcd
          personally Jason Vnn Emnn 10 me known lo Ix: the idcnlical person who cxcc111cd the within o111d foregoing lnstrumcnl
          and uekrmwlcdgcd tu nw that he cxcl,utcd lhc snmc as his free and voluntary act untl deed for the uses and purposes
          therein scl to11h.


         BEVf.f!LY S. SWINFOflD
    Notary Public - SMte of Oklahoma
     Commission Number 01005837
    My Commission Expires Apr 5, 2021


                                               :ss
          COUNTY OF                         __ )
          Before me, the undersigned, u Notury Public in und for suid County unu State, on Ihis _ _th duy ol' Jmu;, 2017, oppcun.:u
          personully Bc11iamin McConlcy to me known to he lhc identical person who executed the within nnd for.::golng
          inslrumcnl nntl ucknowlcdgcd to ml'. tlnll he executed !ht'. saim: as his lrcc and vohmtmy act mid deed for the uses nml
          purposes th~n:ln ~ct forth.


                                                                      Notary Public

                                                                      My Commission Expires:       _ _ _ _ (Seal)
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
   ,::~f,;.·                  Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page2020ofof2727 Page ID
                                    #:158




                                                                SIGNATURE PAGI!: TO
                                                DEPOSITOR_WVP _FCP_BLEED INTO ONE
                                                                FUNDING AGREEMENT

     AGREED TO AND ACCEPTED:


    WEATHF,RV ANF. PRODUCTIONS, INC., n                                     BLEED INTO ONE, LLC ITO BE
    Nevada Corporntion                                                      FORMF.l>I, a limited liability company lo
                                                                            he formed in Illinois
    I lull'L' thl! (111/horio• (l/ hi11cl the l'OlllflllllJ'.


    By:
    Jason Vnn Eman
    President

    Date:


   FORRl~ST CAPITAL PARTNERS, INC.,                                         By:
   a Floridn Corporation                                                    Charles Leslie
                                                                            (Managing Member)
    l Ju,ve the t111fl11wi1y 111 him/ rlw l·o111p<11ty.
                                                                            Date:

    By:_ _ ....__________                                                   By:______       --   - - -- -- -- -
    Benjamin McConle). MB/\                                                 Navccn Chnthappuram
    Managing Partner                                                        (Munaging Member)

    Dttte:                                                                  Date:




   WOIU,l)WlllF. FILM PRODUCTIONS, LLC, a limited liability company formed in lncliann

               I ltm•e the m11huri(v to hind ,1,,, l'OIJ//ICIII.I'.


               By:_ __
               - - --- --·--- - --
               (Managing Member)

               Date:

   *TIJE SIGNATURE OF EACH PARTY HERETO SI/ALL JJE NOTARIZED




   10008625().DOCX:9)                                            IJ of 14
   E.\CCUlion Drnn
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page2121ofof2727 Page ID
                                    #:159




       INDIVIDUAL ACKNOWLEDGMENT
       ~'fAW&<:'~-;i:;' f;~~M««x~'t.<;:'<?ff:.¢<:-'X-0>~..c<'m¢-c<'.c;""¢,c<'.'-<.X¢¢.<;'('¢¢.~X..'<:',<;.'<:'..(;.~,<,'<'.'.¢<;'¢ «<¢<~--<:,c(~'.Y~

        State/Commonwealtl1 of              - -k~L,.,~1_'1,o
                                                      1 1
                                                          ~-·...,5,;-·- --
                                                                 1



        County of
                                  C~(l fy
       On this the _ ; / ~ - clay of                        -th~ .. - -------· 2-e.:.:.L.__.                                                    before me,

                  ... _____ Dayli!.ti)__/_ _6:·trt:'c:!:;:?.. ----~~nth                      ··-- ---·      lhe under:;;;,ed              Notary       Public,
                                            Name orNotary Public f.:'          .         .
       personally          appeared           _ __t!a:1./. __;;.__,:;j.fil tf_1"1..,                   .. ____ _ _ __..
                                                                                       Name(s) of S/gner(s)

                                                                                   0 personally l<nown to me - OR -
                                                                                   Cl!/Sroved to rne on tile bas,s of sahsfacto,y
                                                                                      evidence
                                                                                   to be the person(s) whose name(s) ,stare subscribed
                                                                                   to the within 1nstn nnent. and acknowledged lo
                                                                                   me that he/she/they executed the same for the
                                                                                   purposes therein stc1ted.

                                                                                   WITNESS my hand and oflicial seal.

                                                                                                                 ,<:; ·-··7
                               PAUL GOOERtS
                                 Ofllclal Seal
                        Notary PubUc • Slate of tlllno1s
                                                                                                         sii:orlMa,;;:;;
                     My Commlnlon Expires Apr 24 , 2019



                                                                                                      Any OIiier Required Information
                       Place Notary Seal/Stamp Above                                          (Printed Name of Notary, Expiration Date, etc.)

       ----------------OPTIONAL---------------
            This section Is required for notarizations performed in Arizona but is optlonn/ in other states. Completing /his
       information can deter auaratlon of the document or fraudulent real/ac/1ment of this form to an unintended document.

       Description of Attached Document

       Title or Type of Document:          ____(}z,p) s_;~                  ~v.kCL!h1)-         -?Jllt!.~·..,f-
       Document Date:                   . ___fi2_/- ~ /     1f- _.                      . Number of Pages:                     __lj_ .
       Signer(sJ Other Than Named Above: __ .
       X,.~~x.;,c;.~~~'C<;.'<.K.'Q<..~~'(,X,~,'C<,,'<.l<;~'C<,'(,;.(,'Q(,'C<,'C<;~"t.l<,.~'<,X;<,~'(.)(;'0(./C<,<X,~'(;(,"(.;(,,~<,'C<-'C<,'C(,'<X,"C<;~'(,)'.,>!

       ©2014 National Notary Association • www.NutionalNotury.org • 1·800-US NOTARY (1 ·800·876-6827) Item 1125936
Case
:.-::· 2:19-cv-10337-DSF-JPR
         Case 3:23-cv-04238-LB Document
                                Document33-1
                                         1-12 Filed
                                                Filed02/18/20
                                                      08/18/23 Page
                                                                Page2222ofof2727 Page ID
                                      #:160




                                           SIGNATURE PAGE TO
                                   DEPOSITOR_WVP_FCP_BLEED INTO ONE
                                          FUNDING AGREEMENT

 AGREED TO AND ACCEPTED:


 WEATHERVANll: PRODUCTIONS, l,NC., a                           BLEED INTO ONE, LLC [TO BE
 Nevada Corporation                                            FORMED!, n limited liability company to
                                                               be formed in Illinois
 I have the authority to bind the co111pa11y.
                                                               f have the authority to bind the company.

By: _ __
.lason Vnn Eman                                                By:_ _ _ _ _ __ __ __
 President                                                     Neal Bdelstein
                                                                                                               ;,
                                                                                                            ..,·
                                                               (Managing Mcm_ber)
Date:                                                                        ,.···'.7
                                                                           / ,·        ,                              ,::.;.-,            /
                                                               Date:          ,,      -·                                            ,.-

FORREST CAPITAL PARTNERS, INC.,                                By:                      / (~l, p't ·0:_::~----=:::::...,.
n Florida Corporation

1 have the authority to bind the company.
                                                               Charle l~slie
                                                               (Managing Member)                 u -r - 'J,t, i·r
                                                               Date:
                                                                                                                 lUIS ORTEGA
By: _ _ __ _ _ _ __                                         1;3y:                                                 Olflclel Seal
                                                                  = ,---- -                       ,._--,.,,."'"'~din. s1a1e or llllnols
Bei1Jnmin McConley, MBA                                    St~Q ® 5thappitrnm                                      My Commission EMplres Jun 29, 2020
Managing Partner                                           Co~~W,Rf~k1ember)
                                                                                                  /.j   '




Dnte:                                                      Su~fJ.bed and sworn to (or affirmed) before me on this
                                                           ~ day Of              'Ju Vl (                      2Q~                               .
                                                           by L hc.i r r e.:J L e s U e
                                                           proved to me on the ~1is of satisfactory evidence to~
                                                           the person(s) w Jfpeared before me.
                                                           Slgnatur .-;;,-· .~ ·--:,- ----=~~.::'.:)· · -- -·-
WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability cot pany fori°ned in Indiana

        I have the authority to bind the company.


        By:_ _ _ _ _ __ _ _ __

        (Managing Member)

        Date:

"'THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



{00086259.D0CX;9}                               13 of 14
Execution Drnfl
Case
 -r·.:· 2:19-cv-10337-DSF-JPR
          Case 3:23-cv-04238-LB
                         . ~·~\:,:·
                                    Document
                                     Document33-1
                                              1-12 Filed
                                                     Filed02/18/20
                                                           08/18/23 Page
                                                                     Page2323ofof2727 Page ID
                                           #:161




                                         SIGNATURE PAGE TO
                                 DEPOSITOR       wvr
                                                fCP BLEED INTO ONE
                                        FUNDING AGREEMENT

AGREED TO AND ACCEPTED:


WEATHERVANE PRODUCTIONS, INC., a                         BLEED INTO ONE, LLC JTO BE
Nevada Corporation                                       FORMED!, a limited liability company to
                                                         be formed in Illinois
l /101·e the authority to bind the company.
                                                         I have the authorily to bind the company.


                                                         By: -~::.....,----      -   - - --
                                                              i:!clstein
                                                         (Managing Member)




                                                                                                     I
FORREST CAPITAL PARTNERS, INC.,
u florida Corporation

I haw! tltc authority lo bind the company.
                                                                                                     f




Date:




WORLDWIDE FILM PRODUCTIONS, LLC, a limited liability company formed in Indiana

        I haw! Jhe authority to bind the company.

        By:_ _ _ __ _ __

        (Managing Member)

        Date:

*THE SIGNATURE OF EACH PARTY HERETO SHALL BE NOTARIZED



I000862S9.D0CX;9 J                            13 of 14
Execution Draft
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB
                     .:':"   Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page2424ofof2727 Page ID
                                    #:162




                                                 EXHIBIT A
                                                FCPASSETS

       FCP's assets held by CHASE are liquid assets. These assets include, but not limited to, certificate
       of deposits, capital in savings accounts ·and money markets, mutual funds, stocks and bonds,
       account receivable, demand and time deposits and precious metals. As a family office there is not
       one set of assets that are utilized as the collaternl fm· the WVP Ltt}e of Credit, but a large .
       grouping of several families' assets that arc held and managed by CHASE. As such any number
       of assets can and will be used to be the collateral for the WVP Line of Credit.




                                                                                                             '
                                                                                                             t


                                                                                                             I
                                                                                                             I


       {00086259.D0CX;9}                           14 of 14
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page2525ofof2727 Page ID
                                    #:163                                 EXHIBIT B
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Stanley Mosk Courthouse, Department 5 8

18STCV07873                                                                          May 14, 2019
STUART BENJAMIN, et al. vs JPMORGAN CHASE BANK,                                          8:30AM
N.A.


Judge: Honorable John P. Doyle                    CSR: Angela M. Albarez, CSR #4344
Judicial Assistant: M.F. Lopez                    ERM:None
Courtroom Assistant: R.E. Lee                     Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): Neville L. Johnson & Arun Dayalan
For Defendant(s): Peter W. Homer; Molly Russell appears for Jason Dean Linder; Molly
Margaret White




NATURE OF PROCEEDINGS: Hearing on Defendants JP Morgan Chase Bank, N.A. and
John Luis Torres' Motion to Compel Arbitration;



Pursuant to Government Code sections 68086, 70044, and California Rule of Court, rule 2.956,
Angela M. Albarez - CSR #4344, certified shorthand reporter is appointed as an official Court
reporter pro tempore in these proceedings, and is ordered to comply with the terms of the Court
Reporter Agreement. The Order is signed and filed this date.

The matter is called for hearing.

The Court gives the following tentative ruling:
The Motion to Compel Arbitration is granted.

This is an action in which Plaintiffs allege that Defendants converted $550,000 after Plaintiffs
deposited such sums as collateral for a line of credit meant to finance a musical. On December
10, 2018, Plaintiffs filed the operative Complaint for (1) negligent supervision, (2) fraud, (3)
conversion, and (4) common count: money had and received.

Defendants move to compel arbitration based on an arbitration provision within Plaintiff Stax
Musical, LLC's ("Stax") funding agreement for the subject musical ("Funding Agreement").
(While Deel., Exhibit A.) Stax and non-parties Forrest Capital Partners, Inc. and Weathervane
Productions, Inc. are contracting parties to the Funding Agreement. (Ibid.)

On March 13, 2019, the Court issued a tentative ruling, finding "the Motion to Compel

                                          Minute Order                                 Page 1 of2
Case 2:19-cv-10337-DSF-JPR
       Case 3:23-cv-04238-LB Document
                              Document33-1
                                       1-12 Filed
                                              Filed02/18/20
                                                    08/18/23 Page
                                                              Page2626ofof2727 Page ID
                                    #:164
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Stanley Mosk Courthouse, Department 5 8

18STCV07873                                                                             May 14, 2019
STUART BENJAMIN, et al. vs JPMORGAN CHASE BANK,                                             8:30AM
N.A.


Judge: Honorable John P. Doyle                      CSR: Angela M. Albarez, CSR #4344
Judicial Assistant: M.F. Lopez                      ERM:None
Courtroom Assistant: R.E. Lee                       Deputy Sheriff: None

Arbitration is granted in part. Specifically, the Motion is granted as to all claims asserted by
Plaintiff Stax. The Motion is also granted as to the second cause of action asserted by Plaintiffs
Stuart Benjamin and Stuart Benjamin Productions, Inc. To be clear, the Court compels
arbitration for the limited purposes of the arbitrator determining issues as to arbitrability. The
Motion is denied as to the first, third, and fourth causes of action asserted by Plaintiffs Stuart
Benjamin and Stuart Benjamin Productions, Inc. The action is stayed pending arbitration."

The Court continued the Motion for supplemental briefing. The Court has reviewed the
supplemental briefing and determines as follows:

( 1) It is not clear and unmistakable that Plaintiffs agreed to reserve the issue of arbitrability for
the arbitrator in relation to non-signatories, such that it is for the Court to decide the issue; and
(2) the Court finds that the subject arbitration clause encompasses all claims asserted in the
Complaint and that on the basis of equitable estoppel the non-signatory Defendants may compel
Plaintiffs, including the non-signatory Plaintiffs, to arbitration as to all claims. (See JSM
Tuscany, LLC v. Superior Court (2011) 193 Cal.App.4th 1222, 1242.)
In sum, the Motion to Compel Arbitration is granted. The action is stayed pending conclusion of
the arbitration proceedings.

The matter is argued and the tentative ruling becomes the order of the Court.

Defendant is to give notice.

The defendants' Motion to Compel Arbitration filed by JPMorgan Chase Bank, N.A. on
02/01/2019 is Granted.

The case is ordered stayed pending binding arbitration as to the entire action.

Status Conference Re: Arbitration is scheduled for 10/10/2019 at 08:30 AM in Department 58 at
Stanley Mosk Courthouse.

Counsel Molly M. White is to give notice.

Certificate of Mailing is attached.




                                            Minute Order                                  Page 2 of2
    Case 2:19-cv-10337-DSF-JPR
           Case 3:23-cv-04238-LB Document
                                  Document33-1
                                           1-12 Filed
                                                  Filed02/18/20
                                                        08/18/23 Page
                                                                  Page2727ofof2727 Page ID
                                        #:165
                                                                                     Reserved for Clerk's File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                            FILED
Stanley Mosk Courthouse                                                             S~iat Court of Cslifotnia
                                                                                          unty oH..os Angeles
111 North Hill Street, Los Angeles, CA 90012
                                                                                           05/14/2019
PLAINTIFF/PETITIONER:                                                        Sl1cm R. Cmb!, E~ttfl'tl Olicer I Oai!I. of Cowl
Stuart Benjamin et al                                                         By:       Maria Frances. Lopez Oe-puty
DEFENDANT/RESPONDENT:
JPMorgan Chase Bank, N.A. et al
                                                                             CASE NUMBER:
                        CERTIFICATE OF MAILING                               18STCV07873

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered
herein in a separate sealed envelope to each address as shown below with the postage thereon fully
prepaid, in accordance with standard court practices.




    Molly Margaret White
    McGuireWoods LLP
    1800 Century Park E Fl 8
    Los Angeles, CA 90067




                                                      Sherri R. Carter, Executive Officer I Clerk of Court

Dated: 05/16/2019                                     By:   Maria Frances Lopez
                                                            Deputy Clerk




                                      CERTIFICATE OF MAILING
